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Attorneys for Crossdefendant
ABIGAIL GAURINO

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI‘I

ATOOI ALOHA, LLC, an[sic] Nevada      )    Civil No. 16-00347 JMS - RLP
Limited Liability Company, CRAIG B.   )
STANLEY, as TRUSTEE for THE           )    CERTIFICATE OF SERVICE
EDMON KELLER AND CLEAVETTE            )    RE: Gaurino Defendants’ Joinder
MAE STANLEY FAMILY TRUST;             )    [191] to Defendants Fidelity
CRAIG B. STANLEY, individually;       )    National Title & Escrow of Hawai‘i,
MILLICENT ANDRADE, individually,      )    Inc. and Rommel Guzman’s Motion
                                      )    for Summary Judgment on all
                    Plaintiffs,       )    Claims Asserted by Plaintiffs
                                      )    Against Fidelity and Guzman in the
            vs.                       )    First Amended Complaint [#30],
                                      )    Filed on 5/8/17
ABNER GAURINO, AURORA                 )
GAURINO, ABIGAIL GAURINO,             )     (Caption continued on next page)
INVESTORS FUNDING                     )
CORPORATION, as Trustee for an        )
unrecorded Loan Participation         )
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Agreement dated June 30, 2014;         )
APT-320, LLC, a Hawai‘i Limited        )
Liability Company, CRISTETA C.         )
OWAN, an individual; ROMMEL            )
GUZMAN; FIDELITY NATIONAL              )
TITLE & ESCROW OF HAWAI‘I and          )
DOES 1-100 Inclusive,                  )
                                       )
                   Defendants          )
                                       )

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 7, 2017 a true and correct copy
of the Gaurino Defendants’ Gaurino Defendants’ Joinder [191] to Defendants
Fidelity National Title & Escrow of Hawai‘i, Inc. and Rommel Guzman’s Motion
for Summary Judgment on All Claims Asserted by Plaintiffs Against Fidelity and
Guzman in the First Amended Complaint [#30], Filed on 5/8/17 was served upon
the following parties via CM/ECF:
DENNIS W. CHONG KEE, Esq.                   LAWRENCE C. ECOFF, Esq.
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Attorneys for Plaintiffs                    Attorneys Pro Hac Vice for Plaintiffs

ATOOI ALOHA, LLC; CRAIG STANLEY,
as Trustee for The Edmon Keller and
Cleavette Mae Stanley Family Trust;
CRAIG B. STANLEY, Individually; and
MILLICENT ANDRADE, Individually

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FIDELITY NATIONAL TITLE &
ESCROW OF HAWAI‘I and ROMMEL GUZMAN

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Attorneys for Defendant                    Attorney for Defendant
APT-320, LLC                               CRISTETA C. OWAN

      Dated: Honolulu, Hawai‘i, November 7, 2017.



                                           /s/ John R. Remis, Jr.
                                           John R. Remis, Jr.
                                           Robert D. Eheler, Jr.
                                           Attorneys for Gaurino Defendants




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